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                                  #:6621




        EXHIBIT 68


                                     Ex. 68
      Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 2 of 40 Page ID
                                        #:6622
Message

From:          Hyeok-sang Yoo [hsang.yoo@samsung.com]
Sent:          6/9/2017 4:45:23 PM
To:            Hyeok-sang Yoo Principal Professional Sales Group 1(Memory) Samsung Electronics
               [hsang.yoo@samsung.com]
Subject:       NN


From: Lane Kim
Sent: Thursday, September 28, 2017 2:08 PM
To: Neal Knuth
Cc: Nicholas Marchewka; Val (Valeriia) Pletneva
Subject: RE: NETLIST Backlog
Neal, let's keep $1M support plan and ship these out in Oct. we need to keep it.
Thanks,
Lane
From: Neal Knuth
Sent: Wednesday, September 27, 2017 1:06 PM
To: Lane Kim
Cc: Nicholas Marchewka; Val (Valeriia) Pletneva
Subject: NETLIST Backlog
Hi Lane,
Can we release some of the below today? Ibelieve Nick has included some in the pre-close. Please advise..
Thanks,
Neal Knuth
949 910 2835
From: Neal Knuth
Sent: Tuesday, September 26, 2017 9:14 AM
To: Lane Kim
Cc: Nicholas Marchewka; Val (Valeriia) Pletneva
Subject: NETLIST Backlog
Hi Lane,
We hare currently at 999,564.20 for Netlist shipments in September. Iwould like to ship the below
samples (about $250k). Would it be ok? These are in HQ warehouse. If Icannot ship all, can Iship less?

                                                                       HQ                     Sold to   Sold t'
 Document                                                  Request     GR     1st     2nd.    Party     Party
 No            Sample No       Status    Part No           Qty         Qty,   RTF     RTF     Code      Name       Unh.
                                         MZPLL6T4HMLS-                        2017-   2017-             NETLIST,
  17060821     5PM0145503      HQ_GR     00003                    25    19    09-10   08-22   1141810   INC.       $3,

                                         MZPLL3T2HMLS-                        2017-   2017-             NETLIST,
  17071247     SPM0147912      HQ_GR     00003                    20    10    09-10   08-23   1141810   INC.       $1,
                                         MZPLL6T4HMLS-                        2017-   2017-             NETLIST,
  17071250     SPM0147915      HQ_GR     00003                    25    25    09-10   08-28   1141810   INC.       $3,
                                         MZWLL1T6HEHP-                                                  NETLIST,
  17081618     SPM0150066      HQ_GR     00003                    12    12                    1141810   INC.       $1,C
From: Neal Knuth
Sent: Friday, July 7, 2017 8:11 AM
To: Daniel (Kyong Yong) Lee-mySingle ;Steven Metz
Cc: Harrison Yoo ;TJ Jeong ;Liz Park; You ngwoo Kim ;Arnold Kim   Lane Kim ;Yejin Moon
Subject: Netlist June sales result




Confidential                                                                                               SEC005294
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                                       #:6623
Thanks Daniel.
Not really been much fun. Netlist also wants to help relationship and Ihave convinced them to cancel the $2M in
backlog.. (I am crying)... ;-)
Iwill advise the 500k mix tomorrow.

                                                            16GB
                                                            2Rx1
                                       J'.1393B2G70EB0-     1600
  321112     1290918037                YKOQ2                RDIMM           1,873      1,873      $120.0   $221,760.00
                                       1'.IZ7LM3T8HMLP      PM863a
  321222     1268870573                00005                3.8ITB            500        450    $1,710.0   $855,000.00
                                       MZ7LM 1T9HMJP-       PM863a
  321116     1266351686                00005                1.921B            440        230      $855.0   $376,200.00
                                       1'1Z7LM960HMJP       PM863a
  321202     1266811838                00005                960GB             733        125      $110.0   $322,520.00
                                       WZ7LMI8OHMHQ         PM863a
   321202 1266811838                   00005                180GB             800        650      $232.0   $185,600.00
Thanks,
Neal Knuth
949 910 2835
From: Kyong-yong Lee [mailto: ky1217.lee@samsung.com]
Sent: Thursday, July 06, 2017 4:00 PM
To: Steven Metz; Neal Knuth; Daniel (Kyong Yong) Lee-mySingle
Cc: Harrison Yoo; TJ Jeong; Liz Park; Youngwoo Kim; Arnold Kim; Lane Kim; Yejin Moon
Subject: RE: RE: Netlist June sales result
Thanks Steve,
If there is strategic decision change, we will follow that.
----- Original Message -----
Sender: Steve C Metz < s.metz@samsung.com> Director Sr/Americas Office(DS)-West2 Sales Exec Team/Samsung
          Electronics
Date: 2017-07-07 01:02 (GMT+9)
Title: RE: Netlist July sales result
Daniel,
I'll let you know if JS Choi mentions this issue to me. He has not up till now and Ihave had it highlighted in my weekly
reports...
The larger issue is that Netlist will continue to sell Samsung product as an "authorized reseller".
They will procure product through the open markets in Taiwan, Hong Kong, and most likely the Branded group for
SSD.
Steven Metz I  Samsung Semiconductor IOffice: 408-544-4361 I
                                                           Cell: 408-420-4382 I
From: Neal Knuth
Sent: Thursday, July 06, 2017 6:59 AM
To: Daniel (Kyong Yong) Lee-mySingle <ky1217.leesamsung.com>; Steven Metz <s.metz©samsung.com>
Cc: Harrison Yoo <hsang.yoosamsung.com>; TJ Jeong <tj76.jeongsamsung.com>; Liz Park
<liz.parksamsung.com>; Youngwoo Kim <yw0420.kimsamsung.com>; Arnold Kim <arniee.kimsamsung.com>;
Lane Kim <kih00n74.kim©samsung.com>; Yejin Moon <yejin.moon©samsung.com>
Subject: Netlist June sales result
Daniel,
We cleared backlog and will be moving forward with the $500k a month limit now. We did commit some DRAM, eMMC
and SSD in Q2 that are mostly cleared. In July, our backlog is very limited for Netlist and Iam rejecting new orders as
they will buy Samsung from other sources. If you want we can have a call to review. Iam afraid Netlist will buy from
SEA and other branch possible also. Ihave rejected over $10 Million of business for Q3 already.
Thank you,
Thank you
Neal Knuth
Samsung Semiconductor, INC



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                                                                Ex. 68
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                                        #:6624
Southwest Regional Manager
New Office Number: 949 910 2835

nealk@ssi.samsung.com
Notice: Unless specifically identified as afirm offer or an offer to sell, this message is not an offer of sale. Any terms
stated in this message or prices quoted are merely indications of terms on which Samsung Semiconductor, Inc. may
consider selling, and are not intended to be binding.
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message to the intended recipient, you are hereby notified that any dissemination, distribution or copying of this
communication is strictly prohibited. If you have received this email in error, please notify us immediately by telephone
or return email and delete the original email and any copies thereof. Thank you.
From: Kyong-yong Lee [mailto: ky1217.lee@samsung.com]
Sent: Wednesday, July 05, 2017 7:37 PM
To: Steven Metz
Cc: Daniel (Kyong Yong) Lee-mySingle; Harrison Yoo; TJ Jeong; Liz Park; Neal Knuth; Youngwoo Kim; Arnold Kim;
Lane Kim; Yejin Moon
Subject: FW: Netlist June sales result
Dear Steve,
I received the sales result of Nestlit for June and it showed S1.6M.
I think it is more than the consensus guide S500K between Arnold and JS Choi.
Do you have any background of this?
If there was already committed leftover P0 such as eMMC ($480K) in June as a last
support, can we manange around $500K from July then?
I think it is also important to manange that level since JS Choi is in DSA side also.
Thank you,
----- Original Message -----
Sender: Hyeok-sang Yoo <hsang.yoo @samsung.com> Principal Professional/Sales Group 1(Memory)/Samsung
          Electronics
Date: 2017-07-06 11:16 (GMT+9)
Title: Netlist June sales result
To: Kyong-yong Lee <ky1217.lee@samsung.com>
CC: Hye-rim park <liz.park@samsung.com>
$1.6M in June is correct. They sold over $1M even when taking out about $0.5M for eMMC (NAND).
There isn’t a specific hot product among DRAM.
From: Lane Kim
Sent: Saturday, July 8, 2017 8:44 AM
To: Harrison Yoo ;TJ Jeong ;Daniel (Kyong Yong) Lee-mySingle
Cc: Liz Park; Youngwoo Kim
Subject: RE: RE: Netlist
Okay, then let’s have them do $600K for July and we’ll take it that August would be $500K. Because we’re following
instructions. As you mentioned, we’ll determine whether the amount will be raised or not after we report it to the Chief
internally within DSA.
Lane Kim ISamsung DSA! Director 1
                                3655 N 1st Street, San Jose, CA 95134 I
                                                                      tel. 408.544.5217 1mobile.
408.529.9051
From: Hyeok-sang Yoo [mailto: hsang.yoo@samsung.com]
Sent: Friday, July 07, 2017 3:37PM
To: Lane Kim; TJ Jeong; Daniel (Kyong Yong) Lee-mySingle
Cc: Liz Park; Youngwoo Kim
Subject: RE: RE: Netlist
In relation to Netlist biz and the budget amount, this part needs to be determined by DSA under Chief’s guidance and
DSK would just go along with their decision.
Chief had a guideline when he was the Strategic Marketing Team Leader, and after he became the chief, VP Sung-han


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Kim emailed him to check once more and also because there was a request from the Planning Team of the Business
Division. Chief initially said $300,000 and then said let’s go up a little more, up to $500,000. Since that’s what happened,
you can say that Mr. Kyong-yong Lee and I confirmed the sales amount for June in the process of checking if the US
Business is managing it correctly…
So, for Netlist, the Business Division would just provide support within the available volume once the amount is
determined again after getting Chief’s input.
However, regarding supply for the customer West2 of products requiring further stabilization such as PM1725a and
1633a, we are currently conducting a review of the internal guide, so I will let you know about the final decision on this
part by next week.

----- Original Message -----
Sender: Ki-hoon Kim <kihoon74.kim@samsung.com> Principal Professional/US Business(DS)/Samsung Electronics
Date: 2017-07-08 03:12 (GMT+9)
Title: RE: Netlist
Umm. the amount includes all POs (sample or MP)
Harrison, how about $800K ($500K + $300K) for July and $500K from August..?
Neal, could you explain what samples there are? (customer...)
Thanks,
Lane
From: Neal Knuth
Sent: Thursday, July 13, 2017 4:04 AM
To: Lane Kim; Harrison Yoo ;Daniel (KyongYong) Lee-mySingle; Liz Park
Cc: Steven Metz; Val (Valeriia) Pletneva ;Nicholas Marchewka
Subject: Netlist: P0 on 64GB LRDIMM
Team,
Just FYI, one customer that will pay the $585.00 for the 64GB LRD!MM is Netlist but Iam close to $600k
limit so Iwill reject the attached P0. They want another 500-600pc next week and Ihave also rejected.
Thank you,


From: Tae-jin Jeong
Sent: Monday, May 15, 2017 8:29AM
To: Neal Knuth
Cc: Hyeok-sang Yoo; Kyong-yong Lee; Steve C Metz; Nicholas Peter Marchewka; Valeriia Pletneva; Ki-hoon Kim; Ye-jin
Moon
Subject: RE: Netlist: Q3 SSD Demand
Neal,

As we replied, we could not secure 03 SSD PA for Netlist. Please do not accept SSD POs from Netlist.

Thanks.

TJ Jeong

US. NW Sales

Samsung Electronics

This email is confidential and privileged. If you are not the intended recipient, you must not view, disseminate, use or
copy this email. Kindly notify the sender immediately, and delete this email from your system. Thank you.
----- Original Message -----
Sender: Neal Knuth <n.knuth@samsung.com> Manager Sr/Americas Office(DS)-W2 Sales – SD/Samsung Electronics
Date: 2017-05-13 03:13 (GMT +9)




Confidential                                                                                                               SEC005297
                                                                    Ex. 68
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                                        #:6626
Title :Netlist: Q3 SSD Demand
Can Iget some feedback now?
Thanks,
Neal Knuth
949 910 2835
From: Neal Knuth
Sent: Tuesday, May 09, 2017 12:21 PM
To: TJ Jeong; Harrison Yoo
Cc: Daniel (Kyong Yong) Lee-mySingle; Steven Metz; Nicholas Marchewka; Val (Valeriia) Pletneva
Subject: Netlist: Q3 SSD Demand
TJ, Harrison,
Here is the 03 demand for Netlist. By Friday, Iwill also send Tech Coast OEM 03 SSD demand and Viking 03
SSD demand. Can Iconfirm the below for Netlist. Even break out by month is great, the below is total for
03.
Of course, this assumes we ship all 02 backlog and nothing slips into 03. Also, ASAP quantity should ship
against 02 allocation and backlog. Let me know of any questions. Customers are below.

  Samsung Part Number                   Description                ASAP Qty                      Q3 FCST
                                240GB 2.5" SATA3 6Gbps
                                                                      200                         1,000
 MZ7KM24OHMHQ-00005             SM863a
                                480GB   2.5T1   SATA3 6Gbps
                                                                                                  1,000
 MZ7KM48OHMHQ-00005             SM863a
                                960GB 2.5" SATA3 6Gbps
                                                                      200                         1,000
 MZ7KM96OHMJP-00005             SM863a
                                1.92TB 2.5" SATA3 6Gbps
                                                                                                  1,000
 MZ7KM1T9HMJP-00005             SM863a
                                240GB 2.5" SATA3 6Gbps
                                                                                                  1,000
 MZ7LM24OHMHO-00005             PM863a
                                480GB 2.5" SATA3 6Gbps
                                                                                                  1,000
 MZ7LM48OHMHO-00005             PM863a
                                960GB 2.5" SATA3 6Gbps
                                                                      200                         2,000
 MZ7LM96OHMJP-00005             PM863a
                                1.92TB 2.5" SATA3 6Gbps
                                                                                                  2,000
 MZ7LM1T9HMJP-00005             PM863a
                                3.84TB 2.5" SATA3 6Gbps
                                                                                                  800
 MZ7LM3T8HMLP-00005             PM863a
                                960GB M.2 NVMe PCIe
 MZ1LW96OHMJP-00003             PM963                                                   50
                                1.92TB M.2 NVMe PCIe
 MZ1LW1T9HMLS-00003             PM963                                                   50
                                960GB 2.ST NVMe PCIe
 MZOLW96OHMJP-00003             PM963                                                   500
                                1.92TB 2.ST NVMe PCIe
 MZOLW1T9HMJP-00003             PM963                                                   300
                                3.84TB 2.5T NVMe PCIe
 MZOLW3T8HMLP-00003             PM963                                                   100
                                1.6TB PCIe NVMe (HHHL)
 MZPLL1T6HEHP-00003             PM1725a                                                 20


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                                          #:6627
                              3.ZTB PCIe NVMe (HHHL)
  MZPLL3T2HMLS-00003          PM1725a                                                  20
                              6.4TB PCIe NVMe (HHHL)
  MZPLL6T4H M LS-00003        PM 1725a                     150                         300



                 Samsung Part Number                                    End Customer/users targeted
  MZ7KM24OHMHQ-00005                                       Kaminario, MBX, 24-7, Unicorn Engineering
  MZ7KM48OHMHQ-00005                                       Kaminario, MBX, 24-7, Unicorn Engineering
                                                           Kaminario, MBX, 24-7, Unicorn Engineering, A3Cube,
  MZ7KM96OHMJP-00005                                       L3 Communications, Archion Storage
  MZ7KM1T9HMJP-00005                                       MBX, 24-7, Unicorn Engineering
                                                           MBX, Harmonic, AMI Stortrends, Dolby Laboratories,
  MZ7LM24OHMHQ-00005                                      Core Systems
                                                           MBX, AMI Stortrends, Cohesity, Iron Systems,
                                                           Unicorn Engineering, Redapt, The rnis, Patriot
  MZ7LM48OHMHQ-00005                                      Technologies, Core Systems
                                                           MBX, AMI Stortrends, Cohesity, Iron Systems,
                                                           Unicorn Engineering, Redapt, The rnis, Patriot
  MZ7LM96OH MJ P-00005                                    Technologies, Core Systems
                                                           Kaminario, MBX, AMI Stortrends, iXsystems,
                                                          Cohesity, Iron Systems, Unicorn Engineering, Redapt,
                                                          Themis, Patriot Technologies, Core Systems, JetStor,
  MZ7LM1T9HMJP-00005                                      SquareTrade
                                                           Kaminario, MBX, AM! Stortrends, iXsystems,
                                                          Cohesity, Iron Systems, Unicorn Engineering, Redapt,
                                                          Themis, Patriot Technologies, Core Systems, JetStor,
  MZ7LM3T8HMLP-00005                                      SquareTrade
  MZ1LW96OH MJP-00003                                      Rave Computers, Patriot Technologies
  MZ1LW1T9 HM LS-00003                                     Rave Computers, Patriot Technologies
  MZQLW96OHMJP-00003                                       MBX, iXsystems, Rave Computers, Ace Computers
  MZQLW1T9HMJP-00003                                       MBX, iXsystems, Rave Computers, Ace Computers
  MZQLW3T8HMLP-00003                                       MBX, iXsystems, Rave Computers, Ace Computers
  MZPLL1T6HEHP-00003                                       Broadcom, Microsemi
  MZPLL3T2HMLS-00003                                       Riot Games
  MZPLL6T4HMLS-00003                                       Riot Games, Parsons, Blizzard Games

From: Tae-jin Jeong
Sent: Monday, May 15, 2017 8:27AM
To: Neal Knuth; Hyeok-sang Yoo; Hye-rim Park
Cc: Nicholas Peter Marchewka; Ki-hoon Kim; Valeriia Pletneva; Steve C Metz; Kyong-yong Lee; Sung-han Kim
Subject: RE: Netlist eMMC 2H 2017
Neal,

Due to strong demand from mobile customers, DSK sales strategy team cannot assign 2H eMMC PA for Netlist.

Please do not accept 2H eMMC POs.

Thanks.



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TJ Jeong


US. NW Sales

Samsung Electronics

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copy this email. Kindly notify the sender immediately, and delete this email from your system. Thank you.
           Oriqinal Messacie
Sender: Neal Knuth <n.knuth@samsung.com> Manager Sr/Americas Office(DS)-W2 Sales – SD/Samsung Electronics
Date :2017-05-1303:11 (GMT+9)

Title: Netlist eMMC 2H 2017
Ti,
Here is the 2H Netlist forecast. Please advise support and 03 price.

                                                    Q3'17                                         Q4'17
          PN          Descriptions
                                          Jul        Aug          Sep            Oct               Nov                Dec
                      FLASH
 KLM8G1GEME-          eMMC 8GB
                                       450,000     450,000     480,000        450,000            450,000           400,000
        B041001       (64Gb
                      *1d1 e )

                      FLASH
                      eMMC
  KLMAG1JENB-
                      16GB             100,000     100,000     100,000        100,000            100,000            100,000
        B041007
                      (128Gb
                      *1d1e)
From: Neal Knuth
Sent: Friday, March 24, 2017 10:46 AM
To: TJ Jeong
Cc: Steven Metz; Harrison Yoo ;Nicholas Marchewka           Arnold Kim ;Howard Sung       Daniel (Kyong Yong) Lee-
mySingle ;Val (Valeriia) Pletneva ;Lane Kim
Subject: Netlist Confirmed PO(backlog) to verify
Iam working on it. Thanks for your help.
Thanks,
Neal Knuth
949 910 2835
From: Tae-jin Jeong
Sent: Friday, March 24, 2017 10:44AM
To: Neal Knuth
Cc: Steve C Metz; Hyeok-sang Yoo; Nicholas Peter Marchewka; Sung-han Kim; Hwa-nam Sung; Kyong-yong Lee; Valeriia
Pletneva; Ki-hoon Kim
Subject: RE: RE: Netlist Confirmed PO(backlog) to verify
Neal,

As Steve mentioned, we would like to know SSD P0 confirm status and End-customers.

Here is the summary of Netlilst SSD Backlogs and Mnthly PA. Please verify confirmed POs and End-customers.

Thanks.



        Netlist    I           I                Backlog                 I         March Avail           I                   PA

          QTY      IMarch I April          May       June        TTL    IShipped I Avail     I TTL      I April      May         Jun


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                                       #:6629
MZ7KM 1T9HAJM-
               253                                        253        193       360       553              30         200
00005

MZ7KM1T9HMJP-
              235            1,000    900       900       3,035      292       300       592             300           0
00005

MZ7KM24OHMHQ- 254
                              00      400       400       1,454      72                  72              300         300
"0005
U

MZ7KM48OHMHQ
             469              00      400       400       1,669                288       288             300         300
00005

MZ7KM96OHMJP-
              228             00      600       600       2,028                                          150           0
00005

MZ7LM IT9HMJP-
               1,045                                      1,045                815       815             650         250
00005

MZ7LM24OHMHQ-
              1,028                                       1,028      504       68        572             500         500
'0005
U



MZ7LM3T8HMLP-
              1,312           00      500                 2312       5         586       637             250         250
00005

MZ7LM48OHMHQ- 342
                            60                            1,142      258                 258             200         200
"0005
U


MZ7LM96OHMJP       5        1800                          805        7                   7               100         100
00005

EQ TTL             9,495,552,246,4004,812,8002,764,800 23,319,552 1,554,432 5,585,920 7,140,352 3747,8402,508,8002,432,
From: Neal Knuth
Sent: Thursday, March 23, 2017 12:34 PM
To: Harrison Yoo
Cc: Nicholas Marchewka ;Howard Sung ;TJ Jeong ;Daniel (Kyong Yong) Lee-mySingle;              JI ;Steven Metz; Val
(Valeriia) Pletneva
Subject: Netlist Confirmed PO(backlog) to verify
Harrison,
As you know, Iam careful (too careful) with adding backlog and as far as Isee, all backlog for Netlist is either
approved, within PA, or within lead time.
As you know, Ihave rejected many P0 from Netlist for LTB of V2, Q2 SSD, Q2 DRAM all that Icould have accepted
within PA and lead time.
Where do you see the issue? Q4 and Qi PO's were approved? Ialso believe the backlog is sent weekly and reviewed
by SEC and this is the first Ihear of an issue with Netlist backlog?
Thanks,
Neal Knuth
949 910 2835
From: Hyeok-sang Yoo [mailto:hsang.yoo@samsung.com]
Sent: Wednesday, March 22, 2017 6:44 PM
To: Neal Knuth
                                                                                 .1JI; Steven Metz; Val
Cc: Nicholas Marchewka; Howard Sung; TJ Jeong; Daniel (Kyong Yong) Lee-mySingle; 3
(Valeriia) Pletneva
Subject: RE :Netlist Confirmed PO(backlog) to verify
Neal,
hope you had nice vacation and productive biz trip with customers.
As Irequested acouple of times, Please finalize Netlist P0 status based on support-confirmation for Netlist
and discuss internally. Daniel shared with Steven and Lane and they also can help you understood the background
and
discuss how to work with your customer.
Regards.
       Original Message
Sender: Neal Knuth
Date: 2017-03-18 00:15 (GMT+09:00)
Title :Netlist Confirmed PO(backlog) to verify

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Harrison,
Let me discuss internally. Iam on vacation now. Netlist is my top customer. Idon't have away to recover this revenue.

Thanks,
Neal Knuth
949 910 2835



From: Hyeok-sang Yoo [mailto:hsang.yoo@samsung.com]
Sent: Friday, March 17, 2017 1:08 AM
To: Neal Knuth; Val (Valeriia) Pletneva
Cc: Nicholas Marchewka; Daniel (Kyong Yong) Lee-mySingle; TJ Jeorig; Howard Sung
Subject: FW: Netlist Confirmed PO(backlog) to verify
Neal, Valierila, Nick
Can DSK consider no confirmed P0 from April except for eMMC? Or some components for NVDIMM development will
be honored?
Please finalize confirmed fixed P0 status for Netlist. DSK need to share Netlist status
Regards.
----- Original Message -----
Sender: Hyeok-sang Yoo <hsang.yoo@samsung.com> Principal Professional/Sales 1 Group(Memory)/Samsung
          Electronics
Date: 2017-03-16 15:45 (GMT+9)
Title: Netlist Confirmed PO(backlog) to verify
To: Neal Knuth <n.knuth@samsung.com>, Valeriia Pletneva <valeriia.p@partner.samsung.com>
CC: Nicholas Peter Marchewka <n.marchewka@samsung.com>, Kyong-yong Lee <ky1217.lee@samsugn.com>, Tae-jin
          Jeong <tj76.jeong@samsung.com>, Hwa-nam Sung <hwanam.sung@samsung.com>, Sung-han Kim
          <arniee.kim@samsung.com>
Neal, Valerlia
Please screen for confirmed POs only based on availability confirmation within PA or DP plan.
And please delete any of non-confirmed P0 which Netlist placed without your commitment.
We have to honor and support firm confirmed backlog but any of non confirmed won't be considered from now on.
Regards
----- Original Message -----
Sender: Kyong-yong Lee <ky1217.lee@samsung.com> Principal Professional/Sales 1 Group(Memory)/Samsung
          Electronics
Date: 2017-03-16 15:19 (GMT+9)
Title: RE: RE: RE: RE: RE: Netlist Backlog Balance Volume
From: Kyong-yong Lee
Sent: Thursday, March 16, 2017 3:19PM
To: Tae-jin Jeong; Hyeok-sang Yoo
Cc: Kyong-yong Lee; Hwa-nam Sung; Ye-jin Moon
Subject: RE: RE: RE: RE: RE: Netlist Backlog Balance Volume
I’ve organized it as below, so please proceed with organizing and reporting it by tomorrow morning after deleting the
parts that haven’t been confirmed with Neal.




Confidential                                                                                                SEC005302
                                                         Ex. 68
    Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 11 of 40 Page ID
                                      #:6631
                 QTY                         March     April        May          June          TTL                Remark
 DRAM (1Gb EOJ                                 322        812         516           520         2,170
     K4A4GQ4SWE-BCRC000     4Gb Component                  6.00                                      6.00
     K4A4G045WE-BCTD000     4Gb Component                  3.00        3.00         4.00         10.00
     K4A4GO8SWE-BCRC000     4Gb Component      44.35                                       '     44.35
     K481G08461-BYK0000     1Gb Component                  4.00                            '         4.00
     K4B4G0446E-BYK0000     4Gb Component      10.00                                       '     10.00
     M39142K43BB1-CRCQO     16GB ECC 01MM       0.10                                       '         0.10
     M391A5143EB1-CRCQO     512GB RDIMM         0.10                                       '         0.10
     M3B1B1G73EBO-YKOQO     8GB RDIMM           0.30                                       '         0.30
     M3Y3A1G400BO-CPBOQ     8GB RDIMM           0.90       1.00                            '         L90
     M393A1G40EB1-CRCOQ     8GB RDIMM                      1.00                            '         1.00
     M393A2G40EB1-CRCOQ     16GB RDIMM                     1,00        1.00                '         2.00
     M393A2K40BB1-CRCOQ     16GB RDIMM                     0.91        1.50         1.50             3.91
     M393A2K43881-CRCOQ     16GB RDIMM                     2.45                            '         2.45
     M393A4K408B1-CRCOQ     32GB RDIMM                                 0.50         1.00             1.50
 NAND (GB EOJ                                10,014     9,414       7,981         5,933    '   33,342
     KLM8G1GEME-B041006     8GB eMMC           64.84     136.00      136.00       136.00        4]2.84 <- Plexus eMMC
     KLMAGUENB-B041013      16GB eMMC                    130.00      130.00       130.00'       390.00 <- Plexus eMMC
     MZ]KM1TYH.AJM-00005    1.92TB 950          0.25                                                 0.25
     MZJKM1T9HMJP-00005     1.92TB SSD          0.24       1.00        0.90         0.90             3.04
     MZJKM24OHMHQ-00005     240GB SSD           0.25       0.40        0.40         0.40             1.45
     MZJKM48OHMHQ-00005     480GB SSD           0.4]       0.40        0.40         0.40             1.67
     MZJKMOGOHMJP-00005     960GB 990           0.23       0.60           0.60      0.60             2.03
     MZ]LM1T9HMJP-00005     1.92TB SSD          1.05                                       '         1.05
     MZJLM24OHMHQ-00005     240GB 990           1.03                                       '         1.03
     MZ]1,M3T8HMI,P-00005   3.8TB SSD           1.31       0.50        0.50                '         2.31
     MZ7I,M4ROHMHQ-00005    480GB SSD           0.34       0.80                            '         1.14
     MZJLM960HMJP-00005     960GB SSD           0.01       080                             '         0.81

From: Kyong-yong Lee
Sent: Tuesday, February 21, 2017 6:53PM
To: Joo Sun Choi; Geol Yang; Dong-sung Yang; Sung-han Kim
Cc: Jae-soo Han; Kyong-yong Lee; Hyeok-sang Yoo; Ye-jin Moon; In-dong Kim; Jung-bae Lee; Sang-yeon Kim; Tae-jin
Jeong; Hwa-nam Sung; Min-sook Ko; Young-kyun Lee; Hyung-seok Kwon; Jae-hyun Park; Dae-il Ahn; Dong-wook Lee
Subject: [Meeting Minutes] Netlist @ Feb 21st (Hwasung)

Please see below for a summary report of the meeting minutes related to Netlist visit on the morning of 2/21.

-       Attendees: JB Kim (Executive VP, Sales & Marketing), Brian Peterson (SVP Sales & Marketing), Paik Ki Hong (VP),
Sebastian Lee (Dir. App Eng.)
VP Dong-seong Yang, GM Hyung-seok Kwon, GM Hyuk-sang Yoo, GM Ye-jin Moon, GM Kyong-yong Lee and more
[Main Meeting Topics]
-       Netlist was established in 2000 and the current main product line is High Performance Module for Servers and is
represented by Express Vault (PCIe offering), NVValut (NVDIMM), Hybri DIMM [HyperDIMM(DRAM+NAND)]
-       In relation to Uber’s request for SSD, in the current situation of extremely limited available supply, our company
received a request directly from the End customer (Uber) to directly source the quantity and explained that indirect
supply through Netlist would be difficult.
-       Netlist emphasized the cooperative relationship between our companies and in regard to the request made by
expanding into our company’s Official Distributor Partnership Agreement, we stated that the partnership between the
two companies is based in technological collaboration (JDLA) and proposed that additional requests related to Business
should be dealt with separately.




Confidential                                                                                                            SEC005303
                                                           Ex. 68
     Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 12 of 40 Page ID
                                       #:6632
From: Tae-jin Jeong
Sent: Friday, February 3, 2017 11:11AM
To: Hyeok-sang Yoo; Kyong-yong Lee; Ye-jin Moon; Tae-jin Jeong
Subject: RE: Netlist
SM863/SM863a PA issued today is as below. Realistically, it is difficult to secure additional availability for the applicable
volume.

It seems like we need to make a counterproposal by mixing the PA below.

 Process
    +                                  GC
         Model     Group      GC                 PartNo.             January February     March    April       May       June
                                        ode
 Product

   V32
                                                 MZ7KM1T9HAJM-
  128Gb    SM863    Group 1   West2 Y000097
                                                     00005
                                                                          188      181       360      200        200        200
   MLC

   V32
                                                 MZ7KM48OHAHP-
  128Gb    SM863    Group 1   West2 Y000097
                                                     00005
                                                                          400         0      300      300            0          0
   MLC

   V32
                                                 MZ7KM96OHAHP-
  128Gb    SM863    Group 1   West2    Y000097
                                                     00005
                                                                          950         0        0           0         0          0
   MLC

  V48
                    Group 1                      MZ7KM1 T9HMJP-
 256Gb    SM863a              West2    Y000097                            100         0      700      300            0          0
                                                     00005
  MLC

  V48
                    Group 1                      MZ7KM24OHMHQ-
 256Gb    SM863a              West2 Y000097                               300         0      300      300        300            0
                                                     00005
  MLC

  V48
                    Group 1                      MZ7KM48OHMHQ-
 256Gb    SM863a              West2 Y000097                               300         0      300      300        300        300
                                                     00005
  MLC

  V48
                    Group 1                      MZ7KM96OHMJP-
 256Gb    SM863a              West2 Y000097                               200      400         0       150           0          0
                                                     00005
  MLC

Since SM863 is the product that is most difficult to secure a PA

From: Kyong-yong Lee
Sent: Tuesday, January 31, 2017 2:56PM
To: Sung-han Kim
Cc: Hyeok-sang Yoo; Ye-jin Moon; Ki-hoon Kim; Tae-jin Jeong; Hwa-nam Sung
Subject: RE: RE: RE: (Netlist) eMMC order complete and SSD (SM863a) supply request
SM863a is MLC product so there is absolutely no room for PA.
First, there is no possibility of supply in Q1 and even for Q2, it would only be possible with transfusion from other
customers. From the NW part, it needs to be discussed internally after the Q2 PA is confirmed for
MSFT/AWS/Cisco/Oracle. Considering the MLC Bit Loss, the required quantity would be 13M GB.

----- Original Message -----
Sender: Sung-han Kim <arniee.kim@samsung.com> M7(Director)/Relevant Director/Sales 1 Group(Memory)/Samsung
          Electronics
Date: 2017-01-31 14:07 (GMT+9)


Confidential                                                                                                         SEC005304
                                                            Ex. 68
     Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 13 of 40 Page ID
                                       #:6633
Title: RE: RE: (Netlist) eMMC order complete and SSD (SM863a) supply request

Director KY,
In relation to the supply of SM863a below, please check again and let me know if it can be supplied.
Upon checking, if it is determined that it cannot be supplied, then rather than clumsily committing to it and then backing
out, I believe it is necessary to clearly convey ‘yes’ if it is possible and ‘no’ if it cannot be done. And if they come back
with their request later, we can respond again then, so…
KY, please review the entire situation again and let me know of the response plan.

 Arnold S. Kim (Director Sung-han Kim)
 Director, Sales                                                  I,
 Office 82-31-208-3764/ Mobile 82-10-2046-8943                     NW part

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copy this email. Kindly notify the sender immediately, and delete this email from your system. Thank you.




----- Original Message -----
Sender: Dong-sung Yang <ds.yang@samsung.com> VP/Group Leader/Sales 1 Group(Memory)/Samsung Electronics
Date: 2017-01-31 10:53 (GMT+9)
Title: RE: (Netlist) eMMC order complete and SSD (SM863a) supply request

We’re providing a big help even with eMMC, so aside from that, if SM863a is not something that was discussed between
both companies, it would be good to indirectly avoid confirming supply even with the L/T base in this situation where
even the existing companies have a severe lack of supply.


----- Original Message -----
Sender: Hyeok-sang Yoo <hsang.yoo@samsung.com> M7(Director)/Relevant Director/Sales 1 Group(Memory)/Samsung
          Electronics
Date: 2017-01-31 10:20 (GMT+9)
Title: (Netlist) eMMC order complete and SSD (SM863a) supply request

1. In regard to eMMC request, Netlist provided the PO for the total quantity with the proposed price and the possible
   supply quantity for the 1H(below) provided by our company.
   : 8GB 493K, 16GB 475K ($4.3M total) (Price $3.5/$5.5 * Our company BSP $3.0/$4.8)
2. Netlist is requesting supply for SM863a (1.92TB) since immediately before the holidays. (4.8K units between
   Feb~May) The applicable demand is for Uber, and it is for mounting on mapping vehicles and as the Uber vehicle
   mapping that was proceeding in Pittsburg expanded to California and Arizona, they needed the SM863a mounting
   version, but supply and demand is very difficult, so it seems like they’re pushing Netlist.
   As same as eMMC, our company did not originally have a forecast and our company’s available SM is very limited, so
   realistically, it’s not easy securing availability, so we’re planning to propose to supply as L/T base, but they’re asking
   for help, saying that they need immediate supply starting this month.

    (Request status per schedule)
    —500pcs 2/8
    —500pcs 2/15




Confidential                                                                                                               SEC005305
                                                                  Ex. 68
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                                          #:6634
    -500pcs 2/22
    -300pcs 3/1
    -    lKpcs 4/7
    -L5Kpcs 5/5
    -500pcs 6/2
    - The End –

----- Original Message -----
Sender: Neal Knuth <n.knuth@samsung.com> Manager Sr/Americas Office(DS)-W2 Sales – SD/Samsung Electronics
Date: 2017-01-27 06:00 (GMT +9)
Title: eMMC Support plan for Netlist
<!—[if mso 9]--><!--[end if]-->

Hi Harrison,
We have aligned the P0 (attached) to match the support plan for Qi and Q2. With no objections, Iwill have Val enter
the order as per your monthly breakdown below.
To get started, if any way to get 20k of each in February, please let me know.

Thanks,
Neal Knuth
949 910 2835




From: Hyeok-sang Yoo [mailto: hsang.yoo@samsung.com]
Sent: Wednesday, January 25, 2017 7:52 PM
To: Neal Knuth; Lane Kim
Cc: Yejin Moon; Steven Metz; TJ Jeong; Howard Sung; Val (Valeriia) Pletneva; Nicholas Marchewka
Subject: RE: eMMC Support plan for Netlist

Neal, Good for them to start to place P0.
Below monthly support plan for 1st half and please get the additional P0 for balance
parts.


                                              Jan       Feb       Mar       Apr        May        June       1H TIL


   8GB 64G MLC        KLM8G1GEME-B0410              0         0   85,000    136,000    i36000     136,000     493,000


  16GB 128G MLC       KLMAG1JENB-B0410              0         0   85,000    130,000    130,000    130,000     475.000



----- Original Message -----
Sender: Neal Knuth <n.knuth@samsung.com> Manager Sr/Americas Office(DS)-W2 Sales – SD/Samsung Electronics
Date: 2017-01-26 11:23 (GMT +9)
Title: eMMC Support plan for Netlist
Harrison,
Ok. Please see attached with full part numbers and your revised price. Ialso had the NC/NR term added. Iappreciate
your support on this. Iwill update Q2 soon. Please advise any issue.
Val, looks ok to enter order.
Nick, please update DP. Iwill have Q2 by end of the week Ibelieve.

Thanks,




Confidential                                                                                                SEC005306
                                                         Ex. 68
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                                      #:6635

Neal Knuth
949 910 2835
From: Sebastian Lee
Sent: Thursday, January 26, 2017 1:24PM
To: Hyeok-sang Yoo (hsang.yoo@samsung.com)
Subject: Re: Progress status
EVP Ji-bum Kim made a request to VP Ji over the phone.
Please let me know if there are any changes in the internal atmosphere even within today.
We are scheduled to speak with the customer tomorrow and need to prepare a response.

Thank you
Sebastian Lee


On Jan 25, 2017, at 6:06 PM, Sebastian Lee <SLee@netlist.com> wrote:


Hello,
For now, the plan is to issue eMMC PO with the price proposed by Samsung today. And FYI, our EVP Kim will request
support from VP Ji for Company U, even though eMMC has been secured. (Probably within this morning)
Thank you.
Seok-woo Lee


From: Tae-jin Jeong
Sent: Tuesday, January 24, 2017 11:18 AM
To: Hyeok-sang Yoo
Cc: Ye-jin Moon; Hwa-nam Sung
Subject: RE: FW: Netlist/Uber

There is currently no inventory available for MZ7KM1T9HAJM-00005, the product requested by Netlist, and the main
customer for it is West1. Strategy [team] is saying that there is no PA available for additional allocation, so PA would
have to be redistributed within Sales Group 1 to supply this product.

Thank you.

Ti Jeong


Manager, US. Northwest Sales

Samsung Electronics

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copy this email. Kindly notify the sender immediately, and delete this email from your system. Thank you.


           Original Message
Sender: Neal Knuth <n.knuth@samsung.com> Manager Sr/Americas Office(DS)-W2 Sales – SD/Samsung Electronics
Date: 2017-01-24 10:42 (GMT +9)
Title: Netlist/Uber




Confidential                                                                                                               SEC005307
                                                               Ex. 68
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                                      #:6636
Please help respond on the below.

Thanks,
Neal Knuth
949 910 2835




From: Neal Knuth
Sent: Friday, January 13, 2017 8:28 AM
To: Harrison Yoo; Howard Sung; Nicholas Marchewka
Cc: Val (Valeriia) Pletneva; Lane Kim
Subject: Netlist/Uber

Sorry, here is the V2 version part number. MZ7KM 1T9HAJM-00005
Ineed options on both the SM863 or SM863A. Also, any price relief on Qi matrix?
Uber/Netlist
l000pc
MZ7KM IT9HAJM-00005
MZ7KM 1T9HMJP-00005

Thanks,
Neal Knuth
949 910 2835




From: Neal Knuth
Sent: Friday, January 13, 2017 8:22 AM
To: Harrison Yoo; Howard Sung; Nicholas Marchewka
Cc: Val (Valeriia) Pletneva
Subject: Netlist/Uber

Harrison,
Uber is needing 1k more of MZ7KMIT9HMJP-00005
Netlist is pushing very hard to get support. Anything we can do?
Any PM863 or 5M863 available for Netlist LTB? You rejected but they are still pushing very hard.
From: JiSeok Moon
Sent: Thursday, January 19, 2017 11:34 AM
To: Ye-jin Moon; Jae-hoon Choi
Cc: Young-joo Choi; Jong-myung Kim; Tae-jin Jeong; Hwa-nam Sung; Hyeok-sang Yoo; Sun-hee Kim
Subject: RE: RE: FW: eMMC (8GB, 16GB) Q1 price inquiry
Director Ye-jin Moon,
I am sending you the Q1 price guide for two eMMC products as described below.
KLM8GIGEME-B0410 (FET 64Gb 8GB eMMC): $3.00
KLMAGIJENB-B0410 (FET 128Gb 16GB eMMC): $4.80
Thank you.

-------- Original Message --------
Sender: Ye-jin Moon <yejin.moon@samsung.com> M7 (Director) / Relevant Director / Sales Group 1 (Memory) /
Samsung Electronics
Date: 01-19-2017 09:51 (GMT+9)
Title: RE: FW: eMMC (8GB, 16GB) Q1 price inquiry
Manager Jae-hoon Choi, thank you for your reply.


Confidential                                                                                         SEC005308
                                                          Ex. 68
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                                           #:6637
Manager JiSeok Moon,
Please send me the price guide for Q1.
-----
From: Ye-jin Moon [mailto: yejin.moon@samsung.com]
Sent: Tuesday, January 17, 2017 11:30 PM
To: Neal Knuth
Cc: Steven Metz; Harrison Yoo; TJ Jeong; Howard Sung; Lane Kim
Subject: eMMC Support plan for Netlist
Hi Neal,
Iam Kate working with Harrison covering channel business from this year. Very nice to talk to you over the email
first.
Regarding eMMC suuport for Netlist, we got their quantity needed in each month as below and we can support
from March.

* Customer: Plexus (US)

* Application:     Speaker/Media Player
* Forecast (eMMC 8GB:                1,279,000pcs, 16GB: 1,279,000pcs), Total=2,558,000pcs

                           Purchase                                                   Forecast
   Samsung Part
     Number
                   Jan       Feb       Mar     Apr      May       Jun       Jul         Aug      Sept      Oct       Nov       Dec

 KLM8G1GEME-
                  28,000    54,000    85,000   98,000   100,000   110,000   120,000    120,000   120,000   148,000   148,000   148,000
 B0410

 KLMAG1JENB-
                  28,000    54,000    85,000   98,000   100,000   110,000   120,000    120,000   120,000   148,000   148,000   148,000
 B0410


We can support through Hi with 11M pcs (I GB Eq.) with P0 of NCNR condition. The 1st shipping will be
in March with the corresponding price for March. Thus, whatever the price is on the P0, it should be
adjusted for the March price. Did you get their P0 yet? What is the price?
From: Ki-hoon Kim
Sent: Thursday, January 19, 2017 3:23 AM
To: Sung-han Kim; Dong-sung Yang; Hyeok-sang Yoo
Cc: Kyong-yong Lee; Ye-jin Moon; Hwa-nam Sung
Title: RE: RE: FW: RE: RE: Regarding US Netlist eMMC quantity request

Yes, please send the HQ’s Q1/Q1 price. I will proceed with NCNR PO (with the price raised sufficiently).
Finished products like eMMC are not provided to channel companies, but Netlist this time would be an exception.
(The Uber SSD matter last time was also Netlist… BU head was contacted directly to provide it)
The corporation said no, but Netlist pushed it in a roundabout way through SEC planning team.
In return, since it’s not a general commodity product, we will proceed with the NCNR PO terms.
Thank you.

----- Original Message -----
Sender: Sung-han Kim <arniee.kim@samsung.com> M7(Director)/Relevant Director/Sales Team 1(Memory)/ Samsung
          Electronics
Date: 2017-01-17 22:59 (GMT-8)
Title: RE: FW: RE: RE: Regarding US Netlist eMMC quantity request
To: Dong-sung Yang <ds.yang@samsung.com>; Hyeok-sang Yoo <hsang.yoo@samsung.com>; Ki-hoon Kim
          <kihoon74.kim @samsung.com>
CC: Kyong-yong Lee <ky1217.lee@samsung.com>, Ye-jin Moon <yejin.moon@samsung.com>, Hwa-nam Sung
          <hwanam.sung@samsung.com>
VP, regarding the same matter, it has come to an understanding to take out about 12MGb PA in Q1 from Nintendo and

Confidential                                                                                                               SEC005309
                                                                  Ex. 68
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                                      #:6638
give it to Netlist (Manager Jong-myung Kim) and it will be entered once the pa is received within this week. Sr. Mgr. Ki-
hoon Kim.
Please confirm whether the price for the product below has been received.. THANK YOU.

----- Original Message -----
Sender: Eung-soon Park <espark@samsung.com> M7(Director)/Handling Director/Sales Team(Memory)/ Samsung
          Electronics
Date: 2017-01-18 08:46 (GMT+9)
Title: RE: RE: Regarding US Netlist eMMC quantity request
To: Geol Yang <greg.yang@samsung.com>; Hyun-ki Ji <hyunki.ji@samsung.com>; Dong-sung Yang
     <ds.yang@samsung.com>; Eung-soon Park <espark@samsung.com>
CC: Yong Hwangbo <yong.hwangbo@samsung.com>, Nak-won Heo <nakwon.heo@samsung.com>, Ho-jung Kim
     <hojung4623.kim@samsung.com>, Jong-myung Kim <jongmyung@samsung.com>
Team Leader;
For the quantity needed by Netlist below, I will review the PA and P-Mix in the direction of providing support for 11.4M
GB in the first half.
Currently, overall satisfaction rate for NAND is at 70-75%, so PA per company would have to be adjusted to provide
support for the quantity below.
I am going to convert some of the 50M GB that you approved for Japan Sales (Nintendo) last week.
(I will proceed after asking for understanding from Japan Sales)

                                    Jan        Feb      Mar         Apr      May       Jun        TTL         Ql        Q2

             64G KLM8G1GEME-
8GB FN14                          28,000 54,000      85,000     98,000    100,000   110,000    1,279,000 167,000     308,0(
             MLC B04l0

             128GKLMAG1JENB-
16GBFN14                          28,000 54,000      85,000     98,000    100,000   110,000    1,279,000 167,000     308,0(
             MLC B0410

                  TTL Simple Sum 56,000 108,000      170,000    196,000   200,000   220,000    2,558,000 334,000 616,0(



                                    Jan        Feb      Mar         Apr      May       Jun        TTL         Q1        Q2

             64G KLM8G1GEME-
8GB EN 14                         224,000432,000     680,000    784,000   800,000   880,000    10,232,0001,336,000 2,464,
             MLC B0410

             128GKLMAG1JENB-
16GB EN 14                        448,000864,000     1,360,0001,568,0001,600,0001,760,00020,464,000 2,672,0004,928,
             MLC B0410

                  TTL GB Eq       672,0001,296,0002,040,0002,352,0002,400,0002,640,00030,696,000 4,008,0007,392,

Thank you.

-----
From: Dong-sung Yang
Sent: Wednesday, January 18, 2017 7:28AM
To: Ki-hoon Kim; Hyeok-sang Yoo; Ye-jin Moon; Kyong-yong Lee; Sung-han Kim
Subject: FW: RE: Regarding US Netlist eMMC quantity request

PO was issued unilaterally? How’s the price?

Confidential                                                                                                   SEC005310
                                                           Ex. 68
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                                         #:6639
There are barely any PA within Group 1 itself, correct?
----- Original Message -----
Sender: Geol Yang <greg.yang@samsung.com> SVP/Team Leader/Sales Team(Memory)/ Samsung Electronics
Date: 2017-01-17 21:40 (GMT+9)
Title: RE: Regarding US Netlist eMMC quantity request
To: Hyun-ki Ji <hyunki.ji@samsung.com>, Dong-sung Yang <ds.yang@samsung.com>, Eung-soon Park
          <espark@samsung.com>
Cc: Yong Hwangbo <yong.hwangbo@samsugn.com>, Nak-won Heo <nakwon.heo@samsung.com>, Ho-jung Kim
          <hojung4623.kim@samsung.com>
Understood, Team Leader Ji.
Director Park, please urgently confirm the current available quantity.

----- Original Message -----
Sender: Hyun-ki Ji <hyunki.ji@samsung.com> VP/Team Leader/Planning Team(Memory)/ Samsung Electronics
Date: 2017-01-17 15:55 (GMT+9)
Title: Regarding US Netlist eMMC quantity request

SVP Geol Yang, VP Dong-sung Yang,
During the staff meeting last December, U.S. Netlist provided a report on the current proceeding on the ITC case (U.S.
import ban request) related to the patent infringement with Hynix, and our company invested $15M convertible bonds
and is currently in collaboration for NVDIMM, so it has been mentioned before to look into supporting them if possible.
This is a request from Netlist for eMMC to sell to Plexus, a company in the US (Application: Speaker/Media Player).

             Original Message

 Sender :Ji Bum Kim <jbkim@netlist.com>

 Date :2017-01-06 12:22 (GMT+9)

 Title :eMMC Forecast
VP Ji,
This is what we spoke about on the phone,
and a PO has already been issued to US Sales for the quantity below.
We ask for your active support.

*   Customer: Plexus (US)

*   Application :Speaker/Media Player

*   Forecast (eMMC 8GB: 1,279,000pcs, 16GB: 1,279,000pc5), Total = 2,558,000pcs


    Samsung Part    Purchase                   Forecast

    Number          Jan      Feb      Mar      Apr        May       Jun       Jul       Aug       Sept      Oct       Nov       Dec

    KLM8G1 GEM E-
                    28,000   54,000   85,000   98,000     100,000   110,000   120,000   120,000   120,000   148,000   148,000   148,000
    B0410

    KLMAG1J EN B-
                    28,000   54,000   85,000   98,000     100,000   110,000   120,000   120,000   120,000   148,000   148,000   148,000
    B0410



Best regards.
Hyun-ki Ji, VP (JI, HYUN KI)
Strategic Planning Team (Planning Team)
Memory Business (Memory Business Division)



Confidential                                                                                                                SEC005311
                                                                     Ex. 68
      Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 20 of 40 Page ID
                                        #:6640
hyunki.ji@samsung.com


    Original Message
From: Sebastian Lee
Sent: Thursday, January 19, 2017 12:08 PM
To: Hyeok-sang Yoo
Subject: eMMC
Hello,
Is there any change internally in relation to sujae?
VP Ji said he would provide support on the side.
Sent from my Phone
Hyeoksang(Harrison) Yoo
America Sales (Consumer & EDP)
Hyeoksang Yoo
B2B Sales Management, Principal Prof esslonat
Memory Sates Group 1
Samsung ElectronIcs

T. +5,3373    M. +954                             F. +a231.208.3959
hsang.yocsamsung.carn
wwwsarnsung.com




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Confidential                                                                                                      SEC005312
                                                                               Ex. 68
 Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 21 of 40 Page ID
                                   #:6641

                      CERTIFICATION OF TRANSLATION
                                                      and
                                          DECLARATION

State of California            )
                               )        S. S.
Los Angeles County             )


                 I, Soomi Ko, the undersigned, declare under penalty of perjury that I am a duly certified
Korean Court Interpreter approved by the United States District Courts, certified by the State of
California and the Los Angeles County Superior Courts, with competent knowledge of Korean and
English, and that I have truthfully and correctly translated Document with Bates No. SEC005294–
SEC005312 from Korean to English and that the said translation is, to the best of my knowledge and
belief, a true and correct translation. I further declare under penalty of perjury that I am neither counsel
for, related to, nor employed by any of the parties, and that I have no financial or other interest in the
outcome of any action related to this translation. I declare under penalty of perjury that the foregoing is
true and correct.

                                   Description of Translated Documents

                            Document with Bates No. SEC005294– SEC005312


Executed on August 4, 2021




Soomi Ko
California State Certified Court Interpreter
#300732
(213) 999-7848(Cell)
soomi@komartin.com
www.komartin.com



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                                Specializing in Korean and Chinese Languages




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                                                       Ex. 68
        Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 22 of 40 Page ID
                                          #:6642
     Message


     From:         o
                   -ii-
                          AI-
                                [hsang.yoo@samsung.com]
     Sent:         6/9/2021 4:45 :23 PM
     To:           o
                   -i
                    -i-
                          AI-
                                Principal Professional                      AXL
                                                                           DL      [hsang.yoo@samsung.com]
     Subject:      NN




     From: Lane Kim
     Sent: Thursday, September 28, 2017 2:08 PM
     To: Neal Knuth
     Cc: Nicholas Marchewka; Val (Valerila) Pletneva
     Subject: RE: NETLIST Backlog
     Neal, let's keep $1M support plan and ship these out in Oct. we need to keep it.
     Thanks,
     Lane
     From: Neal Knuth
     Sent: Wednesday, September 27, 2017 1:06 PM
     To: Lane Kim
     Cc: Nicholas Marchewka; Val (Valerila) Pletneva
     Subject: NETLIST Backlog
     Hi Lane,
     Can we release some of the below today? Ibelieve Nick has included some in the pre-close. Please advise..
     Thanks,
     Neal Knuth
     949 910 2835
     From: Neal Knuth
     Sent: Tuesday, September 26, 2017 9:14 AM
     To: Lane Kim
     Cc: Nicholas Marchewka; Val (Valerila) Pletneva
     Subject: NETLIST Backlog
     Hi Lane,
     We hare currently at 999,564.20 for Netlist shipments in September. Iwould like to ship the below
     samples (about $250k). Would it be ok? These are in HQ warehouse. If Icannot ship all, can Iship less?

                                                                                        HO                    Sold to   Sold to
      Document                                                               Request    GR    1st     2nd     Party     Party
      No            Sample No              Status        Part No             Qty        Qty   RTF     RTF     Code      Name       Uni
                                                         MZPLL6T4H M LS-                      2017-   2017-             NETLIST,
       17060821     SPM0145503             HQ_GR         00003                     25    19   09-10   08-22   1141810   INC.       $3,(

                                                         MZPLL3T2HMLS-                        2017-   2017-             NETLIST,
       17071247     SPM0147912             HQ_GR         00003                     20    10   09-10   08-23   1141810   INC.       $1,
                                                         MZPLL6T4H M LS-                      2017-   2017-             NETLIST,
       17071250     SPM0147915             HQ_GR         00003                     25    25   09-10   08-28   1141810   INC.       $3 ,(
                                                         MZWLL1T6HEHP-                                                  NETLIST,
       17081618 SPM0150066 HQ_GR 00003                                             12    12                   1141810   INC.       $i,
     From: Neal Knuth
     Sent: Friday, July 7, 2017 8:11 AM
     To: Daniel (Kyong Yong) Lee-mySingle ;Steven Metz
     Cc: Harrison Yoo ;TJ Jeong ;Liz Park; Youngwoo Kim              Arnold Kim ;Lane Kim ;Yejin Moon
     Subject: Netlist June sales result


                                                                    Ex. 68

Confidential                                                                                                            SEC005294
        Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 23 of 40 Page ID
                                          #:6643
     Thanks Daniel.
     Not really been much fun. Netlist also wants to help relationship and Ihave convinced them to cancel the $2M in
     backlog.. (I am crying)... ;-)
     Iwill advise the 500k mix tomorrow.

                                                                     16GB
                                                                     2Rx'l
                                               W393B2G70EB0          1600
        32'1'112       12909'18037       1-0   YKOQ2                 RDIMM           1,873       1,873      $120.0    $22'1,760.00
                                               WZ7LM3T8HMLP          PM863a
        32'1222        1268870573        1-0   00005                 3.8'lTB           500         450     $1,710.0   $855,000.00
                                               WZ7LM1T9HMJP          PM863a
        32'll'lG       126635'1685      110    00005                 1.92TB            440         230      $855.0    $376,200.00
                                               WZ7LM96OHMJP          PM863a
        32'1202        126681'1838       30    00005                 960GB             733         125      $1'10.0   $322,520.00
                                               WZ7LM'18OHMHQ         PM863a
        32'1202        126681'1838       1-0   00005                 '180GB            800         650      $232.0    $185,600.00
     Thanks,
     Neal Knuth
     949 910 2835
     From: 01      [mailto:ky1217.lee©samsung.com]
     Sent: Thursday, July 06, 2017 4:00 PM
     To: Steven Metz; Neal Knuth; Daniel (Kyong Yong) Lee-mySingle
     Cc: Harrison Yoo; TJ Jeong; Liz Park; Youngwoo Kim; Arnold Kim; Lane Kim; Yejin Moon
     Subject: RE: RE: Netlist June sales result
     Thanks Steve,
     If there is strategic decision change, we will follow that.
                       Original Message
     Sender : Steven C Metz <s.rnetz@sarnsung corn> Director Sr/Americas Off ice(DS) -\est2 Sales
     Exec Tearn/ -f-"j-±4
     Date : 2017-07-07 01:02 (GMT+9)
     Title :RE: Netlist June sales result
     Daniel,
     I'll let you know if JS Choi mentions this issue to me. He has not up till now and Ihave had it highlighted in my weekly
     reports.
     The larger issue is that Netlist will continue to sell Samsung product as an "authorized reseller".
     They will procure product through the open markets in Taiwan, Hong Kong, and most likely the Branded group for
     SSD.
     Steven Metz I Samsung Semiconductor I Office: 408-544-4361 I
                                                                Cell: 408-420-4382 I
     From: Neal Knuth
     Sent: Thursday, July 06, 2017 6:59 AM
     To: Daniel (Kyong Yong) Lee-mySingle <ky1217.lee©samsung.com>; Steven Metz<s.metz©samsung.com>
     Cc: Harrison Yoo <hsang.yoo©samsung.com>; TJ Jeong <tj76.jeong©samsung.com>; Liz Park
     <liz.park©samsung.com>; Youngwoo Kim <yw0420.kim©samsung.com>; Arnold Kim <arniee.kimsamsung.com>;
     Lane Kim <kih00n74.kim©samsung.com>; Yejin Moon <yejin.moon©samsung.com>
     Subject: Netlist June sales result
     Daniel,
     We cleared backlog and will be moving forward with the $500k a month limit now. We did commit some DRAM, eMMC
     and SSD in Q2 that are mostly cleared. In July, our backlog is very limited for Netlist and Iam rejecting new orders as
     they will buy Samsung from other sources. If you want we can have a call to review. Iam afraid Netlist will buy from
     SEA and other branch possible also. Ihave rejected over $10 Million of business for Q3 already.
     Thank you,
         FLl       F
     Neal Knuth
     Samsung Semiconductor, INC



                                                                Ex. 68

Confidential                                                                                                             5EC005295
         Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 24 of 40 Page ID
                                           #:6644
     Southwest Regional Manager
     New Office Number: 949 910 2835

     nealk©ssi.samsung.com
     Notice: Unless specifically identified as afirm offer or an offer to sell, this message is not an offer of sale. Any terms
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     or return email and delete the original email and any copies thereof. Thank you.
     From: OI     @ [mailto:ky1217.lee©samsung.com]
     Sent: Wednesday, July 05, 2017 7:37 PM
     To: Steven Metz
     Cc: Daniel (Kyong Yong) Lee-mySingle; Harrison Yoo; TJ Jeong; Liz Park; Neal Knuth; Youngwoo Kim; Arnold Kim;
     Lane Kim; Yejin Moon
     Subject: FW: Netlist June sales result
     Dear Steve,
     I received the sales result of Nestlit for June and it showed $1.6M.
     I think it is more than the consensus guide S500K between Arnold and JS Choi.
     Do you have any background of this?
     If there was already committed leftover P0 such as eMMC (S480K) in June as a last
     support, can we manange around S500K from July then?
     I think it is also important to manange that level since JS Choi is in DSA side also.
     Thank you,
                        Original Message
     Sender :                  <hsang.yoo@samsung.com> Principal
     Prof essional/ °            1      -('11j 71
                                          1     -

     Date :2017-07-06 11:16 (GMT+9)
     Title :Netlist 6
     To :
     CC : '1<liz.park@samsung.com>
     6jTFJ S1.6M              R. eMIVIC (NAND) q SO. W                                     AI AL11.
     DRAM               1hot Vt 21              *t1.
     From: Lane Kim
     Sent: Saturday, July 8, 2017 8:44 AM
     To: Harrison Yoo ;TJ Jeong ;Daniel (Kyong Yong) Lee-mySingle
     Cc: Liz Park; Youngwoo Kim
     Subject: RE: RE: Netlist
       I, .11            $600K..               801I $500K..                     F
                                                                                AA!LI:F
                                                                                   E=j  XIAI4            0ILI2..

                         IIOH. L.
                               rJ   .Q.aITIL   DSALHOIIAI         1I
     Lane Kim I  Samsung DSA I   Director 1
                                          3655 N 1st Street, San Jose, CA 95134 I
                                                                                tel. 408.544.5217 1mobile.
     408.529.9051
     From:        f[mailto:hsang.yoo©samsung.com]
     Sent: Friday, July 07, 2017 3:37 PM
     To: Lane Kim; TJ Jeong; Daniel (Kyong Yong) Lee-mySingle
     Cc: Liz Park; Youngwoo Kim
     Subject: RE: RE: Netlist
     Netlist biz         2F      budgetFF01 0..g              .         IiF 01I DSA       Ft 0 I.2 DSK   -71 Oil .IIX1
                   LI    F.
           Z1IkI                      I0I                                'Ik           FHJF!       FAF    'I             0.




                                                                       Ex. 68

Confidential                                                                                                                  5EC005296
           Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 25 of 40 Page ID
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                                                                                                                                               El



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               st                                     -H      HA1         - C'> -6 1
                                                                          1-t      -T ) F         jOI EI    0lI)'.1   .IIX1

       FLILF

     LF IJ PM1725a, 1633aOI                     EEj         XjI     01I   [.J West2 7Hi2.I                   01I                    LH.. guide

     PJ      7   . 75-OILI
     oI.gX F 01I                                 FLI:F
                 Original Message
     Sender:         iI- <kihoon74.kimsamsung.com> Principal Professional/fl IXF
     Date :2017-07-08 03:12 (GMT+9)
     Title :RE: Netlist
     Umm. the amount includes all POs (sample or MP)
     Harrison, how about $800K ($500K + $300K) for July and $500K from August..?
     Neal, could you explain what samples there are? (customer...)
     Thanks,
     Lane
     From: Neal Knuth
     Sent: Thursday, July 13, 2017 4:04 AM
     To: Lane Kim ;Harrison Yoo; Daniel (Kyong Yang) Lee-mySingle; Liz Park
     Cc: Steven Metz; Val (Valeriia) Pletneva ;Nicholas Marchewka
     Subject: Netlist: P0 on 64GB LRDIMM
     Team,
     Just FYI, one customer that will pay the $585.00 for the 64GB LRDIMM is Netlist but Iam close to $600k
     limit so Iwill reject the attached P0. They want another 500-600pc next week and Ihave also rejected.
     Thank you,


     From:           EI1i
     Sent: Monday, May 15, 2017 8:29 AM
     To: Neal Knuth
     Cc:               ;OI 1
                           ,J @ ;Steven C Metz; Nicholas Peter Marchewka ;Valeriia Pletneva ; i)I                                        ;   Oil Ll
     Subject: RE: Netlist: 03 SSD Demand
     Neal,


     As we replied, we could not secure Q3 SSD PA for Netlist. Please do not accept SSD POs from Netlist.


     Thanks.


     Ti ieong


     US. NW Sales


     Samsung Electronics

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     copy this email. Kindly notify the sender immediately, and delete this email from your system. Thank you,
                  Original Message

     Sender :Neal Knuth <n.knuth@samsung.com> Manager Sr/Americas Office(DS)-W2 Sales                                  -   SD/XF
     Date :2017-05-13 03:13 (GMT+9)




                                                                            Ex. 68

Confidential                                                                                                                                          SEC005297
        Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 26 of 40 Page ID
                                          #:6646
     Title :Netlist: Q3 SSD Demand
     Can Iget some feedback now?
     Thanks,
     Neal Knuth
     949 910 2835
     From: Neal Knuth
     Sent: Tuesday, May 09, 2017 12:21 PM
     To: TJ Jeong; Harrison Yoo
     Cc: Daniel (Kyong Yong) Lee-mySingle; Steven Metz; Nicholas Marchewka; Val (Valeriia) Pletneva
     Subject: Netlist: Q3 SSD Demand
     TJ, Harrison,
     Here is the 03 demand for Netlist. By Friday, Iwill also send Tech Coast OEM 03 SSD demand and Viking 03
     SSD demand. Can Iconfirm the below for Netlist. Even break out by month is great, the below is total for
     03.
     Of course, this assumes we ship all 02 backlog and nothing slips into 03. Also, ASAP quantity should ship
     against 02 allocation and backlog. Let me know of any questions. Customers are below.

        Samsung Part Number                   Description               ASAP Qty                      Q3 FCST
                                     240GB    2.5T1   SATA3 6Gbps
                                                                           200                         1,000
      MZ7KM24OHMHO-00005             SM863a
                                     480GB    2.5T1   SATA3 6Gbps
                                                                                                       1,000
      MZ7KM48OHMHO-00005             SM863a
                                     960GB    2.5T1   SATA3 6Gbps
                                                                           200                         1,000
      MZ7KM96OHMJP-00005             SM863a
                                     1.92TB   2.5T1   SATA3 6Gbps
                                                                                                       1,000
      MZ7KM1T9HMJP-00005             SM863a
                                     240GB    2.5T1   SATA3 6Gbps
                                                                                                       1,000
      MZ7LM24OHMHO-00005             PM863a
                                     480GB    2.5T1   SATA3 6Gbps
                                                                                                       1,000
      MZ7LM48OHMHO-00005             PM863a
                                     960GB    2.5T1   SATA3 6Gbps
                                                                           200                         2,000
      MZ7LM96OHMJP-00005             PM863a
                                     1.92TB   2.5T1   SATA3 6Gbps
                                                                                                       2,000
      MZ7LM1T9HMJP-00005             PM863a
                                     3.84TB   2.5T1   SATA3 6Gbps
                                                                                                       800
      MZ7LM3T8HMLP-00005             PM863a
                                     960GB M.2 NVMe PCle
      MZ1LW96OHMJP-00003             PM963                                                   50
                                     1.92TB M.2 NVMe PCle
      MZ1LW1T9HMLS-00003             PM963                                                   50
                                     960GB    2.5T1   NVMe PCle
      MZOLW96OHMJP-00003             PM963                                                   500
                                     1.92TB 2.5T NVMe PCle
      MZOLW1T9HMJP-00003             PM963                                                   300
                                     3.84TB   2.5T1   NVMe PCle
      MZOLW3T8HMLP-00003             PM963                                                   100
                                     1.6TB PCle NVMe (HHHL)
      MZPLL1T6HEHP-00003             PM1725a                                                 20




                                                               Ex. 68

Confidential                                                                                                    SEC005298
        Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 27 of 40 Page ID
                                          #:6647
                                   3.2TB PCle NVMe (HHHL)
      MZPLL3T2HMLS-00003           PM1725a                                                     20
                                   6.4TB PCIe NVMe (HHHL)
      MZPLL6T4H M LS-00003         PM 1725a                       150                          300



                      Samsung Part Number                                      End Customer/users targeted
      MZ7KM24OHMHQ-00005                                          Kaminario, MBX, 24-7, Unicorn Engineering
      MZ7KM48OHMHQ-00005                                          Kaminario, MBX, 24-7, Unicorn Engineering
                                                                  Kaminario, MBX, 24-7, Unicorn Engineering, A3Cube,
      MZ7KM96OHMJP-0000S                                          L3 Communications, Archion Storage
      MZ7KM1T9HMJP-0000S                                          MBX, 24-7, Unicorn Engineering
                                                                  MBX, Harmonic, AMI Stortrends, Dolby Laboratories,
      MZ7LM24OHMHQ-00005                                          Core Systems
                                                                  MBX, AMI Stortrends, Cohesity, Iron Systems,
                                                                  Unicorn Engineering, Redapt, Thernis, Patriot
      MZ7LM48OHMHQ-00005                                          Technologies, Core Systems
                                                                  MBX, AMI Stortrends, Cohesity, Iron Systems,
                                                                  Unicorn Engineering, Redapt, Themis, Patriot
      MZ7LM96OHMJP-0000S                                          Technologies, Core Systems
                                                                  Kaminario, MBX, AMI Stortrends, iXsystems,
                                                                  Cohesity, Iron Systems, Unicorn Engineering, Redapt,
                                                                  Themis, Patriot Technologies, Core Systems, JetStor,
      MZ7LM1T9HMJP-0000S                                          SquareTrade
                                                                  Kaminario, MBX, AMI Stortrends, iXsystems,
                                                                  Cohesity, Iron Systems, Unicorn Engineering, Redapt,
                                                                  Thernis, Patriot Technologies, Core Systems, JetStor,
      MZ7LM3T8HMLP-0000S                                          SquareTrade
      MZ1LW96OHMJP-00003                                          Rave Computers, Patriot Technologies
      MZ1LW1T9HMLS-00003                                          Rave Computers, Patriot Technologies
      MZQLW96OH MJ P-00003                                        MBX, iXsystems, Rave Computers, Ace Computers
      MZQLW1T9HMJP-00003                                          MBX, iXsystems, Rave Computers, Ace Computers
      MZQLW3T8HMLP-00003                                          MBX, iXsystems, Rave Computers, Ace Computers
      MZPLL1T6HEHP-00003                                          Broadcom, Microsemi
      MZPLL3T2HMLS-00003                                          Riot Games
      MZPLL6T4HMLS-00003                                          Riot Games, Parsons, Blizzard Games


     From:     EMi
     Sent: Monday, May 15, 2017 8:27 AM
     To: Neal Knuth   TY -   i _   Ji   ai
     Cc: Nicholas Peter Marchewka;            ;Valeriia Pletneva ;Steven C Metz; riI       =
                                                                                           _




     Subject: RE: Netlist eMMC 2H 2017
     Neal,


     Due to strong demand from mobile customers, DSK sales strategy team cannot assign 2H eMMC PA for Netlist.


     Please do not accept 2H eMMC POs.


     Thanks.



                                                         Ex. 68

Confidential                                                                                                      SEC005299
           Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 28 of 40 Page ID
                                             #:6648
     Ti Jeong


     US. NW Sales


     Samsung Electronics

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                Original Message

     Sender :Neal Knuth <n.knuth@samsung.com> Manager Sr/Americas Office(DS)-W2 Sales                        -   SD/XI

     Date :2017-05-1303:11 (GMT+9)

     Title :Netlist eMMC 2H 2017
     Ti,
     Here is the 2H Netlist forecast. Please advise support and 03 price.

                                                            Q3'17                                           Q4'17
               PN          Descriptions
                                                Jul          Aug             Sep       Oct                  Nov                 Dec
                           FLASH
      KLM8G1GEME-         eMMC 8GB
                                              450,000       450,000    480,000       450,000             450,000            400,000
             B041001       (64Gb
                           *ldie)

                           FLASH
                          eMMC
       KLMAG1JENB-
                           16GB               100,000       100,000    100,000       100,000             100,000            100,000
             B041007
                           (128Gb
                           *ldie)
     From: Neal Knuth
     Sent: Friday, March 24, 2017 10:46 AM
     To: TJ Jeong
     Cc: Steven Metz; Harrison Yoo Nicholas Marchewka ;Arnold Kim ;Howard Sung                   Daniel (Kyong Yong) Lee-
     mySingle ;Val (Valeriia) Pletneva ;Lane Kim
     Subject: Netlist Confirmed PO(backlog) to verify
     Iam working on it. Thanks for your help.
     Thanks,
     Neal Knuth
     949 910 2835
     From:     EIii
     Sent: Friday, March 24, 2017 10:44 AM
     To: Neal Knuth
     Cc: Steven C Metz;         k Nicholas Peter Marchewka;                             0         ;Valeriia Pletneva;
     Subject: RE: RE: Netlist Confirmed PO(backlog) to verify
     Neal,


     As Steve mentioned, we would like to know SSD P0 confirm status and End-customers.


     Here is the summary of Netlilst SSD Backlogs and Mnthly PA. Please verify confirmed POs and End-customers.


     Thanks.



              Netlist                                   Backlog                               March Avail                                   PA

               QTY         March      April           May      June           TTL   Shipped      Avail           TTL    April         May        Jur




                                                                    Ex. 68

Confidential                                                                                                                    SECOO5300
        Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 29 of 40 Page ID
                                          #:6649
     MZ7KM1T9HAJM-
                   253                                          253       193       360       553              30        200
     00005

     MZ7KM1T9HMJP-
                   235            1,000    900       900        3,035     292       300       592             300          0
     00005

     MZ7KM24OHMHQ- 254
                                  400      400       400        1,454     72                  72              300        300
     00005

     MZ7KM48OHMHQ- 469
                                  400      400       400        1,669               288       288             300        300
     00005

     MZ7KM96OHMJP- 228
                                  600      600       600        2,028                                         150          0
     00005

     MZ7LM1T9HMJP- 1,045
                                                                1,045               815       815             650        250
     00005

     MZ7LM24OHMHQ- 1,028                                        1,028     504       68        572             500        500
     00005

     MZ7LM3T8HMLP- 1,312
                                  500      500                  2312      5         586       637             250        250
     00005

     MZ7LM48OHMHQ-
                   342            800                           1,142     258                 258             200        200
     00005

     MZ7LM96OHMJP-
                                  800                           805       7                   7               100        100
     00005         5

     EQ TTL             9,495,552 6,246,4004,812,8002,764,800 23,319,552 1,554,432 5,585,920 7,140,352 3,747,8402,508,8002,432
     From: Neal Knuth
     Sent: Thursday, March 23, 2017 12:34 PM
     To: Harrison Yoo
     Cc: Nicholas Marchewka ;Howard Sung ;TJ Jeong ;Daniel (Kyong Yong) Lee-mySingle ;               ;Steven Metz; Val
     (Valeriia) Pletneva
     Subject: Netlist Confirmed PO(backlog) to verify
     Harrison,
     As you know, Iam careful (too careful) with adding backlog and as far as Isee, all backlog for Netlist is either
     approved, within PA, or within lead time.
     As you know, Ihave rejected many P0 from Netlist for LTB of V2, Q2 SSD, Q2 DRAM all that Icould have accepted
     within PA and lead time.
     Where do you see the issue? Q4 and Qi PO's were approved? Ialso believe the backlog is sent weekly and reviewed
     by SEC and this is the first Ihear of an issue with Netlist backlog?
     Thanks,
     Neal Knuth
     949 910 2835
     From:         [mailto:hsang.yoo©samsung.com]
     Sent: Wednesday, March 22, 2017 6:44 PM
     To: Neal Knuth
     Cc: Nicholas Marchewka; Howard Sung; TJ Jeong; Daniel (Kyong Yong) Lee-mySingle;       il; Steven Metz; Val
     (Valeriia) Pletneva
     Subject: RE :Netlist Confirmed PO(backlog) to verify
     Neal,
     hope you had nice vacation and productive biz trip with customers.
     As Irequested acouple of times, Please finalize Netlist P0 status based on support-confirmation for Netlist
     and discuss internally. Daniel shared with Steven and Lane and they also can help you understood the background
     and
     discuss how to work with your customer.
     Regards.
            Original Message
     Sender: Neal Knuth
     Date: 2017-03-18 00:15 (GMT+09:00)
     Title :Netlist Confirmed PO(backlog) to verify


                                                            Ex. 68

Confidential                                                                                                     SECOO53O1
        Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 30 of 40 Page ID
                                          #:6650
     Harrison,
     Let me discuss internally. Iam on vacation now. Netlist is my top customer. Idon't have away to recover this revenue.

     Thanks,
     Neal Knuth
     949 910 2835



     From: ?-     f[mailto:hsang.yoo©samsung.com]
     Sent: Friday, March 17, 2017 1:08 AM
     To: Neal Knuth; Val (Valeriia) Pletneva
     Cc: Nicholas Marchewka; Daniel (Kyong Yong) Lee-mySingle; TJ Jeong; Howard Sung
     Subject: FW: Netlist Confirmed PO(backlog) to verify
     Neal, Valieriia, Nick
     Can DSK consider no confirmed P0 from April except for eMMC? Or some components for NVDIMM development will
     be honored?
     Please finalize confirmed fixed P0 status for Netlist. DSK need to share Netlist status
     Regards.
             Original Message
     Sender:   -.it <hsang.yoosamsung.com> Principal Professional/               1                        XF
     Date: 2017-03-16 15:45 (GMT+9)
     Title :Netlist Confirmed PO(backlog) to verify
     To :Neal Knuth<n.knuthsamsung.com>, Valeriia Pletneva<valeriia.ppartner.samsung.com>
     CC: Nicholas Peter Marchewka<n.marchewka©samsung.com>, OI                   zky1217.leesamsung.com>,

       EHj<tj76.jeongsamsung.com>,                 Hkhwanam.sung©samsung.com>,                .karniee.kim©samsung.com>
     Neal, Valeriia
     Please screen for confirmed POs only based on availability confirmation within PA or DP plan.
     And please delete any of non-confirmed P0 which Netlist placed without your commitment.
     We have to honor and support firm confirmed backlog but any of non confirmed won't be considered from now on.
     Regards
             Original Message
     Sender: 01     --       <ky1217.leesamsung.com> Principal Professional/ C
                                                                             C4 2=4
                                                                                  1I    (DI     I)/t      XI
     Date :2017-03-16 15:19 (GMT+9)
     Title :RE: RE: RE: RE: RE: Netlist Backlog
     From.
     Sent: Thursday, March 16, 2017 3:19 PM
     T    ii_ ,r i cD    —




     Cc..flJR.).X
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     Subject: RE: RE: RE: RE: RE: Netlist Backlog
               d
               -°1                            ij       j    7]   Neal 4   Confirm      ±1     --
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                  li




                                                                 Ex. 68

Confidential                                                                                                         SEC005302
          Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 31 of 40 Page ID
                                            #:6651
                                                                                                                                                                            Unit Kpc.s
                                            QT'                                                              March         April               May          June              TEL                    Remark
         DRAM (1Gb EQ)                                                                                         322               &12             516           520             2,170
                  K4A4GO4SWE-BCRC000                                    4Gb Component                                            5.00                                               5.00
                  K4A4G045W8-BCT0000                                    4Gb Component                                            3.00             3.00          4.00'           10.00
                  K4A4G085W6-BCRC000                                    4Gb Component                          44.35                                                   '        44.35
                  K481G08461-8YK0000                                    1Gb Component                                            4.00                                  '            4.00
                  K4B4G04468-BYK0000                                    4Gb Component                          1000                                                    '         10,00
                  M391fi2K43881-CRCQD                                   16GB FCC 111MM                             0.10                                                '            0.10
                  M391A5143E81-CRCQO                                    512GB RDIMM                                0.10                                                '            0.10
                  M391B1G73880-YKOQO                                    8GB RDIMM                                  0.30                                                '            0.30
                  M393A1G40080-CPBOQ                                    8GB RDIMM                                  0.90          1.00                                  '            1.90
                  M393A1G40EB1-CRCOQ                                    8GB RDIMM                                                1.00                                  '            1.00
                  M39'3A2G408B1-CRCOQ                                   16GB RDIMM                                               1,00                1.00              '            2,00
                  M393A2K40B81-CRCOQ                                    16GB RDIMM                                               0.91             1.50          1.50'               3.91
                  M39'3A2K43881-CRCOQ                                   16GB RDIMM                                               2.45                                  '            2.45
                  M393A4K40B81-CRCOQ                                    32GB RDIMM                                                                0.50          1.00'               1.50
         NAND (GS EOJ                                                                                        10,014         9,414              7,981         5,933           33,342
                  KLMBG1GEME-B041005                                    8GB eMMC                               64.84         136.00             136.00       136.00 '          472.84 <- Plexus eMMC
                  KLMAGIJENB-8041013                                    16GB eMMC                                            130.00             130.00       130.00'           390.00 <- Plexus eMMC
                  MZ]KM1T9HAJM-00005                                    1.92TB SSD                                 0.25                                                             0.25
                  MZJKM1T9HMW-00005                                     1.92TB SSD                                 0.24          1.00             0.90          0.90'               3.04
                  MZJKM24OHMHQ-00005                                    240GB 5511                                 0.25          0.40             0.40          0.40'               1.45
                  MZ]KM48OHMHQ-00005                                    480GB 550                                  0.4]          0.40             0.40          0.40'               1.67
                  MZ7KM9SOHMJP-00005                                    960GB 550                                  0.23          0.60                0.60       0.50                2.03
                  MZ7LM1T9HMJP-00005                                    1.92TB 550                                 1.05                                                '            1.05
                  MZJLM24OHMHQ-00005                                    240GB 550                                  1.03                                                '            1.03
                  MZ7LM3T8HMIP-00005                                    3.818 550                                  1.31          0.50                0.50              '            2.31
                  MZ7LM4BOHMHQ-00005                                    480GB SSD                                  0.34          0.80                                  '            1.14
                  MZ7LM9SOHMJP-00005                                    960GB SSD                                  0.01          080                                   '            0.81

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     Sent: Tuesday, February 21, 2017 6:53 PM
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     Subject: [..I .I                              ]Netlist @ Feb 21st (Hwasung)
          71               7010 2/21                               ..2j1]1 'AA                               Netlist       'L}                                              4              i
     -                             : JB Kim (Executive VP ,Sales& Marketing) Brian Peterson (SVP Sales&Marketing)
     Paik Ki Hong (VP), Sebastian Lee(Dir . App Eng.)
      DO      %       A1 :t71-                                                                                                                  o]7


     -    Net1ist                           2OOOV]1            T11               A-I e-I
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                                                                                                                            it "7



     Express Vault (PCIe offering),NVValut (NYDIMM),Hybri DIMM[HyperDIMM(DRAM+NAND)1


     -    Uber [J SSD                                                       1°1                              ii 71---1 "1                      1}1J ≥ki- J                                            End
     customer (IJber)
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     -Net 1ist                                                                     4i711'                          f&1 '-41- 2-Official Distributor Partnership
     Agreement
                                       1ii-°I                  -1-                                       411'1                     1-j2-1 Partnership                         7 J(JDLA) 71
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          2j-01t1,
     BusinessJi                                              71             --                                      1°1 Ef*F1 A11 ±f.

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Confidential                                                                                                                                                                                                   SEC005303
         Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 32 of 40 Page ID
                                           #:6652
     From:         EIii
     Sent: Friday, February 3, 2017 11:11 AM
     To:           At;0          ;
     Subject: RE: Netlist
     =01 kd•tH
                      SM863/SM863a PAL=              I-7I2I-       I I.
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      7IPA          Mix           IIQ"I
                                 :U.Q1         °F      X1I±     HOI:                        LlLj-




                   Model    Group          GC        GC              Part No.                    1V       2V       3V        4V       5V       6
                                                     code
     x1I ff

       V32
                                                                     MZ7KM 1T9HAJM-
      128Gb        SM863     1ll--         West2 Y000097                                            188    181      360       200      200         200
                                                                         00005
       MLC

       V32
                                                                     MZ7KM48OHAHP-
      128Gb        SM863     1.11--        West2 Y000097                                            400        0    300       300          0         0
                                                                         00005
       MLC

       V32
                                                                     MZ7KM96OHAHP-
      128Gb        SM863     1a Z=rF       West2 Y000097                                            950        0        0         0        0         0
                                                                         00005
       MLC

       V48
                                                                     MZ7KM1T9HMJP-
      256Gb        SM863a    la -MrF       West2 Y000097                                            100        0    700       300          0         0
                                                                         00005
       MLC

       V48
                                                                     MZ7KM24OHMHQ-
      256Gb        SM863a    1ll--         West2 Y000097                                            300        0    300       300      300           0
                                                                         00005
       MLC

       V48
                                                                     MZ7KM48OHMHQ-
      256Gb        SM863a    1.11--        West2 Y000097                                            300        0    300       300      300         300
                                                                         00005
       MLC

       V48
                                                                     MZ7KM96OHMJP-
      256Gb        SM863a    la -MrF       West2 Y000097                                            200    400          0     150          0         0
                                                                         00005
       MLC

       Ff PA               °11       X11   0ISM8630171Oil

     From.
     Sent: Tuesday, January 31, 2017 2:56 PM
     To:    1±
     Cc .YV
        .         111 XI
            1D ,t_1
               -
                                   _I)          71 EH XI   )d    I



     Subject: RE: RE: RE: (Netlist) eMMC                               01   SSD (SM863a)
     SM863a71- MLC    I11- - PA2I 01 *71- J1          +.                           -L


               Q1]1      71--101 0
                                 61 -01 Q2]1      7111
                                                  -
     PA          j-01-o  7FJ           -1'1-.
     MSFT /A'WS /Cisco/ Oracle    Q2 PA71- 1l
                    iô-       T   MLC Bit Loss71-71 7, }1-
                                           -



     13M GB71-          '-1' -.
                      Original Message
     Sender :                    <arniee.kim@samsung.com>
     Date :2017-01-31 14:07 (GMT+9)


                                                                                   Ex. 68

Confidential                                                                                                                               SEC005304
           Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 33 of 40 Page ID
                                             #:6653
     Title :RE: RE:                                (
                                                   Netlist) eMMC                                 SSD (SM863a)
     V\I
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     OFEH SM863a 0                            22     o
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      Arnold S Kim     0 L_.
                             IITJ)
                             T

      Director, Sales                                                                                        I,
      Office 82-31-20g-3]64 /Mobile 82-10-2046-8943                                                          NW part


     This email is confidential and privileged. If you are not the intended recipient, you must not view, disseminate, use or
     copy this email. Kindly notify the sender immediately, and delete this email from your system. Thank you.
                                Original Message
     Sender : ]-1j <ds.yang@samsung.com>
     Date :2017-01-31 10:53 (GMT+9)
     Title :RE:                       (Netlist) eMMC                                     SSD (SM863a)
     eIVIMC         O]1l                                                    ?jt11,        O1      1]1 SM863a              i1?J                    -01   O1H
                    ôi    tJi   _   r11       5iL ..::z_
         jza                                  0

           °]        -} -°]1l L/T base                                                         Confirrn                               11-       °1

                                Original Message
     Sender :                             -       <hsang yoo@sarnsung. corn>
                                                                 .




     Date :2017-01-31 10:20 (GMT+9)
     Title : (Netlist) eMMC                                                          SSD (SM863a)
     1. Net1istO]11l eMMC                                                    '1-71 -J1                                                     4 MIAPS,117F?4[H.
     ;j         po.. 3LIEF
           8GB 493K, 16GB 475K                                   (      S4.3M)   (7F?.i $35/$55          *    FAF BSP $3.OI$4.8)

     2. Netlist                               I-                 --E1 SM863a (1.92TB)                                 12          LIE F.(2_54.8K
                                                                                                                                          j?j    [H)

      11'          Uber                                     Jt11 rnapping1-                -             llber21       1-rnapping           Ll
     Pitt sburg ]1A
     Ca1ifornia- ArizonaV                                                                  SM863a.-
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      j--O]1 Al
     Netlist                    push                                        1lI:1-.

     eMMC-                                                 '±        'A1-    forecast             LIL        'kA-    SM71---°]        --




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     -   500pcs 2/8
     -500pcs 2/15



                                                                                               Ex. 68

Confidential                                                                                                                                                   SEC005305
           Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 34 of 40 Page ID
                                             #:6654
     -500pcs 2/22
     -300pcs 3/1
     -    lKpcs 4/7
     -1.5Kpcs 5/5
     -    500pcs 6/2


                      Original Message
     Sender :Neal Knuth <n.knuth@sarnsung corn> Manager Sr/Americas Off ice(DS) - T2 Sales                         -




     SD/ -f-i     J1-
     Date :2017-01-27 06:00 (GMT+9)
     Title : eMMC Support plan for Netlist
     <!--[if mso 9]--><!--[endif]-->
     Hi Harrison,
     We have aligned the P0 (attached) to match the support plan for Qi and Q2. With no objections, Iwill have Val enter
     the order as per your monthly breakdown below.
     To get started, if any way to get 20k of each in February, please let me know.

     Thanks,
         Neal Knuth
         949 910 2835




     From: ?-     f[mailto:hsang.yoo©samsung.com]
     Sent: Wednesday, January 25, 2017 7:52 PM
     To: Neal Knuth; Lane Kim
     Cc: Yejin Moon; Steven Metz; TJ Jeong; Howard Sung; Val (Valeriia) Pletneva; Nicholas Marchewka
     Subject: RE: eMMC Support plan for Netlist

     Neal, Good for them to start to place P0.
     Below monthly support plan for 1st half and please get the additional P0 for balance
     parts.


                                                     Jan       Feb       Mar          Apr       May      June          1H TIL


            8G13 54G MLC    KLMaG1GEME-B0410               0         0   85000        136,000   136000   136000        493,000


          15GB 128G MLC     KLMAG1JENB-B0410               0         0   85000        130,000   130000   130,000       475.000

                      Original Message
     Sender :Neal Knuth <n.knuth@samsung.corn> Manager Sr/Americas Off ice(DS) - 2 Sales
     SD/f         J1-
     Date :2017-01-26 11:23 (GMT+9)
     Title : eMMC Support plan for Netlist
     Harrison,
     Ok. Please see attached with full part numbers and your revised price. Ialso had the NC/NR term added. Iappreciate
     your support on this. Iwill update Q2 soon. Please advise any issue.
     Val, looks ok to enter order.
     Nick, please update DP. Iwill have Q2 by end of the week Ibelieve.

     Thanks,




                                                               Ex. 68

Confidential                                                                                                           SEC005306
          Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 35 of 40 Page ID
                                            #:6655
     Neal Knuth
     949 910 2835
     From: Sebastian Lee
     Sent: Thursday, January 26, 2017 1:24 PM
     To:        -                    (hsangyoo@samsung.com)
     Subject: Re: XI                       HA
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     Thank you

     Sebastian Lee


     On Jan 25, 2017, at 6:06 PM, Sebastian Lee <SLee@netlist.com> wrote:




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                -'-        "                          IAIF 7 H 2 ...eMMC'                                  q1     h=1


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     From:    EILLl
     Sent: Tuesday, January 24, 2017 11:18 AM
     To: Ft
     Cc:         ;
     Subject: RE: FW: Netlist/Uber
     Netlist011Al 2F-                                1I-     MZ7KM1T9HAiM-00005-                       HTH 2            C'
                                                                                                                        -           2 71EH.. West1 11 LI[F.


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     Manager, US. Northwest Sales


     Samsung Electronics

     This email is confidential and privileged. If you are not the intended recipient, you must not view, disseminate, use or
     copy this email. Kindly notify the sender immediately, and delete this email from your system. Thank you.


                      Original Message

     Sender :Neal Knuth <n.knuth@samsung.com> Manager Sr/Americas Office(DS)-W2 Sales - SD/XF

     Date: 2017-01-24 10:42 (GMT+9)

     Title :Netlist/Uber



                                                                                                  Ex. 68

Confidential                                                                                                                                              SEC005307
        Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 36 of 40 Page ID
                                          #:6656
     Please help respond on the below.

     Thanks,
     Neal Knuth
     949 910 2835




     From: Neal Knuth
     Sent: Friday, January 13, 2017 8:28 AM
     To: Harrison Yoo; Howard Sung; Nicholas Marchewka
     Cc: Val (Valeriia) Pletneva; Lane Kim
     Subject: Netlist/Uber

     Sorry, here is the V2 version part number. MZ7KM 1T9HAJM-00005
     Ineed options on both the 5M863 or 5M863A. Also, any price relief on Qi matrix?
     Uber/Netlist
     l000pc
     MZ7KM 1T9HAJM-00005
     MZ7KM 1T9HMJP-00005

     Thanks,
     Neal Knuth
     949 910 2835




     From: Neal Knuth
     Sent: Friday, January 13, 2017 8:22 AM
     To: Harrison Yoo; Howard Sung; Nicholas Marchewka
     Cc: Val (Valeriia) Pletneva
     Subject: Netlist/Uber

     Harrison,
     Uber is needing 1k more of MZ7KMIT9HMJP-00005
     Netlist is pushing very hard to get support. Anything we can do?
     Any PM863 or 5M863 available for Netlist LTB? You rejected but they are still pushing very hard.

     From:           X1
     Sent: Thursday, January 19, 2017 11:34 AM
     To:                   ;
     Ccc.
        :                  .
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                                                                        CAH, JI)c
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     Subject: RE: RE: FW: eMMC(8GB, 16GB) 1)I                                 )P
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       '•1   L       00



                                       eMMC X1IOlI                Hk
     17I 7 F.2             7I
                            0I..   *.ELIF
     KLM8GIGEME-B0410 (FET 64Gb 8GB eMMC): $3.00
     KLMAGIJENB-B0410 (FET 128Gb 16GB eMMC) :$4.80
     JAJ LI
     7                F.
                     Original Message

     Sender:                   <yej in. moon @samsung.com> M7()/                             4!7J/0   1

     Date :2017-01-19 09:51 (GMT+9)

     Title :RE: EW: eMMC(8GB, 16GB) 1-7I 7P                                 2.I
                 2 Fj'Ei,      IJ 7D'AFLI:F



                                                                                    Ex. 68

Confidential                                                                                              5EC005308
         Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 37 of 40 Page ID
                                           #:6657
     DXIA1           LI-L_I


     1--71 7 F2 7I-0I                          -1
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                                                    EFE.
                                                      -  2 JL:F.
                                                             I




     From: ==NIE1 [mailto:yejin.moon©samsung.com]
     Sent: Tuesday, January 17, 2017 11:30 PM
     To: Neal Knuth
     Cc: Steven Metz; Harrison Yoo; TJ Jeong; Howard Sung; Lane Kim
     Subject: eMMC Support plan for Netlist
     Hi Neal,
     Iam Kate working with Harrison covering channel business from this year. Very nice to talk to you over the email

     first.

     Regarding eMMC suuport for Netlist, we got their quantity needed in each month as below and we can support

     from March.

     * Customer: Plexus (US)

     * Application:                  Speaker/Media Player
     * Forecast (eMMC 8GB:                                       1,279,000pcs, 16GB: 1,279,000pcs), Total=2,558,000pcs

                                                    Purchase                                                                                          Forecast
        Samsung Part
          Number
                                     Jan               Feb           Mar           Apr               May                    Jun             Jul         Aug         Sept      Oct       Nov         Dec

      KLM8G1GEME-
                                 28,000               54,000       85,000              98,000        100,000               110,000          120,000    120,000      120,000   148,000   148,000     148,000


      KLMAG1JENB-
                                 28,000               54,000       85,000              98,000        100,000               110,000          120,000    120,000      120,000   148,000   148,000     148,000



     We can support through Hi with iiM pcs (I GB Eq.) with P0 of NCNR condition. The ist shipping will be
     in March with the corresponding price for March. Thus, whatever the price is on the P0, it should be
     adjusted for the March price. Did you get their P0 yet? What is the price?
     From: I)L-511
     Sent: Thursday, January 19, 2017 3:23 AM
     To. JI). 00          Y   10
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     Subject: RE: RE: FW: RE: RE:                                           Netlistiift eMMC


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                     Original Message

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     Date :2017-01-17 22:59 (GMT-8)

     Title :RE: EW: RE: RE: A Netlist± eMMC                                                             0       L      L



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Confidential                                                                                                                                                                                      SEC005309
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                       Original Message

     Sender : -1:          -? <espark@samsung.com>                            M I 'r 0)! D 0 T 0         /   o
                                                                                                                 04 El

     Date :2017-01-18 08:46 (GMT+9)

     Title :RE: RE:            NetIistI± eMMC                                   ZEI

     To:                <greg.yang@samsung.com>, XI                             7l
                                                                                 <hyunki.ji@samsung.com>,                       <ds.yang@samsung.com>,
      -b -?<espark@samsung.com>
     CC: VL--<yong.hwangbo@samsung.com>,                                               tknakwon.heo@samsung.com>,
                   <hojung4623.kim@samsung.com>,                                —c> 9 <jongmyung@samsung.com>
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     0jdM Net listAIO1I DE1 1cR±                        F- CD'±)l 11.4M GB                          X1           L!=           PA     P-Mix
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                          64G KLM8G1GEME-
     8GB FN14                                                      28,000 54,000             85,000              98,000    100,000   110,000    1,279,000 167,000     308,0(
                          MLC B0410

                          128GKLMAG1JENB-
     16GBFN14                                                      28,000 54,000             85,000              98,000    100,000   110,000    1,279,000 167,000     308,0(
                          MLC B0410

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                                                                     Jan          Feb              Mar              Apr      May          Jun      TTL           Q1      Q

                          64G KLM8G1GEME-
     8GB FN14                                                      224,000432,000            680,000             784,000   800,000   880,000    10,232,0001,336,0002,464,
                          MLC B0410

                          128GKLMAG1JENB-
     16GBFN 14                                                     448,000864,000            1,360,0001,568,0001,600,0001,760,00020,464,0002,672,0004,928,
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                                 TTL GB Eq                         672,0001,296,0002,040,0002,352,000 2,400,000 2,640,00030,696,000 4,008,0007,392,

         AFtLILF.


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     Sent: Wednesday, January 18, 2017 7:28 AM
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Confidential                                                                                                                                                SECOO531 0
            Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 39 of 40 Page ID
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                       Original Message
     Sender :                    <greg.yang@samsung.com>                                 jDT/'EI ol'(       O EI(D1'\
                                                                                                                   '—I)!'AI-A17
                                                                                                                         D CD          X

     Date :2017-01-17 21:40 (GMT+9)

     Title :RE: A NetlistI± eMMC                                         °
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     To:                    <hyunki.ji@samsung.com>,                                      <ds.yang@samsung.com>,                  -f   -   <espark@samsung.com>

     CC: *-•-I I
               C
               2>
                -<yong.hwangbo@samsung.com>,
                1                                                                                  tknakwon.heo@samsung.com>,

                 <hojung4623.kim@samsung.com>
           OI-7.-flLlLL          TIEIL4


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                    Original Message
     Sender: Tlt47l <hyunki.jisamsung.com>                                                I   /EI'7'
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     Date :2017-01-17 15:55 (GMT+9)
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     OIL:


     NetlistAF011Al                   Plexus±(Application :Speaker/Media Player)O1I                                             eMMC-- 2F-            ?jILIF,
                       Original Message

     Sender :ii Bum Kim <jbkim@netlist.com>

     Date :2017-01-06 12:22 (GMT+9)

     Title :eMMC Forecast

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     *    Customer: Plexus (US)

     *    Application :Speaker/Media Player

     *    Forecast (eMMC 8GB: 1,279,000pcs, 16GB: 1,279,000pc5), Total=2,558,000pcs


         Samsung Part            Purchase                                    Forecast

         Number                  Jan                  Feb      Mar           Apr          May             Jun       Jul          Aug        Sept      Oct        Nov        Dec

         KLM8G1 GEME-
                                 28,000               54,000   85,000        98,000       100,000         110,000   120,000      120,000    120,000   148,000    148,000    148,000
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         B0410

     Best regards.
     XPj7              --   (il, HYUN KI)

     Strategic Planning Team                             (
                                                         7Ii)

     Memory Business (UiIEIAF--)




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Confidential                                                                                                                                                               SECOO531 1
            Case 8:20-cv-00993-MCS-ADS Document 168-21 Filed 08/30/21 Page 40 of 40 Page ID
                                              #:6660
     hyunki.ji@samsung.com


         Original Message
     From: Sebastian Lee
     Sent: Thursday, January 19, 2017 12:08 PM
     T 0.o: '
            r      )


     Subject: eMMC
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